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 1
     Patrick Patton
 2   Salish Sea Law Group
     1495 158th Place NE
 3   Bellevue, WA 98008
 4   (206) 972-5297 – Office
     (206) 770-6238 – Facsimile
 5   patrick@salishsealawgroup.com
 6
     Attorney for Plaintiff
 7

 8

 9                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON
10                       SEATTLE, WASHINGTON
11
     JUAN ALBERTO
12   CASTANEDA MIRANDA,
                                          FILE NO.
13
            Plaintiff,
14                                        COMPLAINT FOR
     vs.                                  DAMAGES
15

16   U.S. DRUG                               1. Unreasonable Search
     ENFORCEMENT                                and Seizure –
17   ADMINISTRATION, a U.S.                     Detention and Arrest
18
     government agency; U.S.                    (42 U.S.C. § 1983)
     FEDERAL BUREAU OF                       2. Unreasonable Search
19   INVESTIGATION, a U.S.                      and Seizure –
     government agency; and                     Excessive Force (42
20
     U.S. BUREAU OF                             U.S.C. § 1983)
21   ALCOHOL, TOBACCO,                       3. Substantive Due
     FIREARMS &                                 Process – (42 U.S.C. §
22   EXPLOSIVES, a U.S.                         1983)
23   government agency;                      4. Municipal Liability
     AGENT AGUIRE, BADGE                        for Unconstitutional
24   NO. 7785, an employee for                  Custom, Practice or
     the U.S. federal government;                                               PATRICK PATTON
25                                                                           SALISH SEA LAW GROUP
                                                                                   1495 158th Place NE
                                                                                   Bellevue, WA 98008
                                                                                   206.972.5297 (voice)
                                    COMPLAINT - 1                                   206.770.6238 (fax)
                                                                             patrick@salishsealawgroup.com
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     AGENT MORELAND,                                  Policy (42 U.S.C. §
 1
     BADGE NO. 7701, an                               1983)
 2   employee for the U.S.                         5. Municipal Liability –
     federal government; and                          Failure to Train (42
 3
     UNKNOWN NAMED                                    U.S.C. § 1983)
 4   AGENTS OF THE U.S.                            6. Plausible Claim for
     FEDERAL BUREAU OF                                Relief Against
 5   INVESTIGATION, U.S.                              Defendants Under
 6   DRUG ENFORCEMENT                                 Bivens
     ADMINISTRATION, U.S.
 7   BUREAU OF ALCOHOL,
     TOBACCO, FIREARMS &                       JURY TRIAL DEMANDED
 8
     EXPLOSIVES 1-10,
 9   inclusive,
10          Defendants.
11

12                             I.    INTRODUCTION
13
           1.1    Plaintiff, JUAN ALBERTO CASTANEDA MIRANDA, an
14
     unmarried father of a minor child, brings this civil rights action seeking
15

16   compensatory and punitive damages from Defendants for violating various
17   rights under the United States Constitution and state law against Defendants
18
     for their failures to perform mandatory duties and/or for the unconstitutional
19

20
     and/or negligent acts and/or omissions of their officers, officials, agents

21   and/or employees that resulted in the injuries to the Plaintiff and his personal
22
     property, related to improper identification and raid of the Plaintiff, his
23
     girlfriend at that time, and their apartment and vehicle.
24

25         1.2    This tragic series of events occurred on July 17, 2018.                  PATRICK PATTON
                                                                                        SALISH SEA LAW GROUP
                                                                                              1495 158th Place NE
                                                                                              Bellevue, WA 98008
                                                                                              206.972.5297 (voice)
                                     COMPLAINT - 2                                             206.770.6238 (fax)
                                                                                        patrick@salishsealawgroup.com
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            1.3   Plaintiff suffered bodily injuries during this unlawful and
 1

 2   illegal raid; the death of his cat; and the complete destruction of his
 3
     apartment, its contents and his only personal vehicle.
 4
            1.4   Defendants learned during the raid of Plaintiff, his apartment,
 5

 6   his vehicle and his then girlfriend that Defendants had the wrong apartment

 7   and wrong person for which they were to conduct the raid.
 8
            1.5   Defendants failed to properly identify Plaintiff; they conducted
 9
     an improper search and seizure and arrest; and caused significant harm to
10

11   the Plaintiff. This tragedy was a by-product of their abuse of authority.

12          1.6   Defendants’ failure to carry out their required duties and to
13
     properly identify Plaintiff caused significant injury and damage to the
14
     Plaintiff.
15

16          1.7   If Defendants would have simply followed the laws,
17   regulations and/or procedures, this incident and harm could have been
18
     avoided.
19
                        II.    JURISDICTION & VENUE
20

21          2.1   This Court has jurisdiction over all causes of action asserted
22
     against Defendants.
23
            2.2   Plaintiff further brings this cause of action against the United
24

25   States pursuant to 28 U.S.C.S. § 2679(a); 42 U.S.C. §§ 1983, 1985, 1986,           PATRICK PATTON
                                                                                     SALISH SEA LAW GROUP
                                                                                           1495 158th Place NE
                                                                                           Bellevue, WA 98008
                                                                                           206.972.5297 (voice)
                                    COMPLAINT - 3                                           206.770.6238 (fax)
                                                                                     patrick@salishsealawgroup.com
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     1988; Fourth and Fourteenth Amendments of the United States Constitution;
 1

 2   and 28 U.S.C. § 2674. Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343
 3
     and 1367.
 4
           2.3     This is an action brought under the United States Constitution
 5

 6   pursuant to Bivens v. Six Unknown Named Agents of Federal Bureau of

 7   Narcotics, 403 U.S. 388 (1971), for the unlawful search and seizure of
 8
     Plaintiff’s home, vehicle and belongings in violation of Plaintiff’s Fourth
 9
     Amendment rights; and racial and ethnic profiling in violation of Plaintiff’s
10

11   Equal Protection and Due Process rights.

12         2.4     Venue is proper in this Court under 28 U.S.C. § 1391(b),
13
     because Defendants reside in, and all incidents, events, and occurrences
14
     giving rise to this action occurred in the County of Snohomish, Washington.
15

16                                 III.     PARTIES
17         3.1     Plaintiff, JUAN ALBERTO CASTANEDA MIRANDA, is a
18
     citizen of Mexico. He resides in the United States with approved Deferred
19
     Action for Childhood Arrivals (DACA).          Plaintiff resides in Everett,
20

21   Washington.
22
           3.2     Defendant,        U.S.       DRUG           ENFORCEMENT
23
     ADMINISTRATION, is a U.S. government agency, with offices in the state
24

25   of Washington.                                                                     PATRICK PATTON
                                                                                     SALISH SEA LAW GROUP
                                                                                           1495 158th Place NE
                                                                                           Bellevue, WA 98008
                                                                                           206.972.5297 (voice)
                                    COMPLAINT - 4                                           206.770.6238 (fax)
                                                                                     patrick@salishsealawgroup.com
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           3.3    Defendant, FEDERAL BUREAU OF INVESTIGATION, is a
 1

 2   U.S. government agency, with offices in the state of Washington.
 3
           3.4    Defendant, U.S. BUREAU OF ALCOHOL, TOBACCO,
 4
     FIREARMS & EXPLOSIVES, is a U.S. government agency, with offices in
 5

 6   the state of Washington.

 7         3.5    Defendant, AGENT AGUIRE, BADGE NO. 7785, is an
 8
     employee for the U.S. federal government.
 9
           3.6    Defendant, AGENT MORELAND, BADGE NO. 7701, is an
10

11   employee for the U.S. federal government.

12         3.7    Defendants, UNKNOWN NAMED AGENTS OF THE U.S.
13
     FEDERAL         BUREAU            OF   INVESTIGATION,       U.S.    DRUG
14
     ENFORCEMENT ADMINISTRATION, U.S. BUREAU OF ALCOHOL,
15

16   TOBACCO, FIREARMS & EXPLOSIVES 1-10, inclusive, are unknown to
17   Plaintiff, who therefore sue these defendants by such fictious names.
18
     Plaintiff will seek leave to amend this Complaint to show the true names and
19
     capacities of these defendants when they have been ascertained. Each of the
20

21   fictitious named defendants is responsible in some manner for the conduct
22
     and liabilities alleged herein.
23
                         IV.    FACTUAL ALLEGATIONS
24
                                                                                       PATRICK PATTON
25                                                                                  SALISH SEA LAW GROUP
                                                                                          1495 158th Place NE
                                                                                          Bellevue, WA 98008
                                                                                          206.972.5297 (voice)
                                       COMPLAINT - 5                                       206.770.6238 (fax)
                                                                                    patrick@salishsealawgroup.com
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           4.1   Plaintiff is a citizen and native of Mexico. He was born on May
 1

 2   25, 1992.
 3
           4.2   Plaintiff is the recipient of approved and current Deferred
 4
     Action for Childhood Arrivals.
 5

 6         4.3   Plaintiff is employed as technician for Comcast.

 7         4.4   Plaintiff is not married.
 8
           4.5   Plaintiff has one minor child, a U.S. citizen daughter.
 9
           4.6   Other than a couple of speeding tickets, Plaintiff has no
10

11   criminal history. He is not and has never been violent nor been seen as a

12   threat to his community. Plaintiff has not and has never been connected with
13
     drug manufacturing, use or sales.
14
           4.7   Plaintiff does not and has never had a license to carry or keep
15

16   firearms.
17         4.8   Plaintiff has had no history of violence and no history of drug
18
     offenses.
19
           4.9   On July 13, 2018, the U.S. District Court for the Western
20

21   District of Washington, Seattle, Washington, issued a Search and Seizure
22
     Warrant to search the Plaintiff’s apartment at Viking Apartments, 6630
23
     202nd Street SW, Lynnwood, Washington 98036. This warrant specifically
24
                                                                                       PATRICK PATTON
25                                                                                  SALISH SEA LAW GROUP
                                                                                          1495 158th Place NE
                                                                                          Bellevue, WA 98008
                                                                                          206.972.5297 (voice)
                                    COMPLAINT - 6                                          206.770.6238 (fax)
                                                                                    patrick@salishsealawgroup.com
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     outlined the purpose for this search and seizure - to locate controlled
 1

 2   substances, drug paraphernalia, drug transaction records, etc.
 3
            4.10 On July 17, 2018, Defendants in this matter raided and
 4
     destroyed the Plaintiff’s apartment, killing his cat, and causing injuries to
 5

 6   Plaintiff.

 7          4.11 On July 17, 2018, Plaintiff and his then girlfriend, Gisela
 8
     Alarcon Castaneda, were awakened by loud bangs outside of their
 9
     apartment; still sleeping, they did not realize what was going on until agents
10

11   blasted into their apartment and they were suddenly approached by full-

12   armored agents, who came into their bedroom, with multiple guns raised and
13
     pointed at them, yelling at Plaintiff and his girlfriend. They were instructed
14
     to get out of bed, but neither one had clothing on. Ms. Castaneda required a
15

16   female agent to come to the scene to help Ms. Castaneda dress. Plaintiff
17   pleaded with the agents to look in his wallet to see that they had the wrong
18
     apartment and wrong person(s). These pleas were ignored by all of the
19
     government agents during this excessive raid.
20

21          4.12 Plaintiff and his girlfriend were handcuffed and taken to the
22
     living room, where Plaintiff was told to “confess” about the “drug cartels”;
23
     however, Plaintiff was not, is not and has not ever been involved with any
24

25   type of drug trafficking, so he did not know what the agents were referring         PATRICK PATTON
                                                                                      SALISH SEA LAW GROUP
                                                                                            1495 158th Place NE
                                                                                            Bellevue, WA 98008
                                                                                            206.972.5297 (voice)
                                    COMPLAINT - 7                                            206.770.6238 (fax)
                                                                                      patrick@salishsealawgroup.com
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     to and desperately tried to tell agents he did not know anything. He asked
 1

 2   agents to check his identification, so they could see that they were in the
 3
     wrong apartment, but they refused.
 4
           4.13 After Defendants had torn up Plaintiff’s apartment and vehicle,
 5

 6   nothing was found related to any drug or other illegal activity, by Plaintiff

 7   nor his girlfriend, the Defendants handed Plaintiff a packet of documents
 8
     and told him the Defendants had the wrong individuals and the wrong
 9
     apartment and to complete the claim forms for reimbursement of damages
10

11   and settlement for all harm and damage. Defendants failed to discover and

12   reasonably should have discovered by looking at Plaintiff’s identification
13
     that they were, in fact, in the wrong residence.
14
           4.14 During the July 17, 2018 raid by Defendants of Plaintiff’s
15

16   apartment and his vehicle, it was determined that Defendants had the
17   incorrect person(s) and incorrect apartment.        Eventually, Defendants
18
     arrested and charged the correct defendant(s) they were looking for and
19
     these defendants were charged accordingly. See USA v. Urias, et al., Case
20

21   No. 2:18-CR-00174-RAJ.
22
           4.15 Plaintiff has suffered significant personal injuries, wage loss
23
     and property damage from the Defendants wrongful arrest, search and
24
                                                                                        PATRICK PATTON
25                                                                                   SALISH SEA LAW GROUP
                                                                                           1495 158th Place NE
                                                                                           Bellevue, WA 98008
                                                                                           206.972.5297 (voice)
                                    COMPLAINT - 8                                           206.770.6238 (fax)
                                                                                     patrick@salishsealawgroup.com
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     seizure and destruction of his personal belongings, and violation of his 4th
 1

 2   and 5th Amendment rights.
 3
                         V.    FIRST CLAIM FOR RELIEF
 4
            1.     Unreasonable Search And Seizure – Detention And Arrest,
 5

 6   U.S.C. § 1983).

 7          5.1    Plaintiff hereby incorporates by reference each of the
 8
     allegations set forth in the preceding paragraphs as if realleged fully herein.
 9
            5.2    Defendants caused Plaintiff to be detained and attempted to
10

11   arrest Plaintiff in violation of his right to be secure in his person against

12   unreasonable searches and seizures as guaranteed to Plaintiff under the
13
     Fourth Amendment of the United States Constitution and applied to state
14
     actors by the Fourteenth Amendment.
15

16          5.3    As a result of the conduct of the Defendants, they are liable for
17   Plaintiff’s injuries because they were integral participants to the violations
18
     of Plaintiff’s rights.
19
            5.4    The Plaintiff was detained without reasonable suspicion by
20

21   Defendants, and they attempted to arrest Plaintiff without probable cause.
22
            5.5    The conduct of Defendants was willful, wanton, malicious, and
23
     done with reckless disregard for the rights and safety of Plaintiff and,
24
                                                                                          PATRICK PATTON
25                                                                                     SALISH SEA LAW GROUP
                                                                                             1495 158th Place NE
                                                                                             Bellevue, WA 98008
                                                                                             206.972.5297 (voice)
                                     COMPLAINT - 9                                            206.770.6238 (fax)
                                                                                       patrick@salishsealawgroup.com
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     therefore, warrants the imposition of exemplary and punitive damages as to
 1

 2   Defendants.
 3
           5.6     Accordingly, Defendants are each liable to Plaintiff for
 4
     compensatory and punitive damages under 42 U.S.C. § 1983.
 5

 6         5.7     Plaintiff also seeks attorney fees under this claim.

 7                     VI.   SECOND CLAIM FOR RELIEF
 8
           2.      Unreasonable Search and Seizure – Excessive Force, 42
 9
     U.S.C. § 1983).
10

11         6.1     Plaintiff hereby incorporates by reference each of the

12   allegations set forth in the preceding paragraphs as if realleged fully herein.
13
           6.2     Defendants unjustified arrest, search and seizure of his person,
14
     place, and things deprived Plaintiff of his right to be secure in his person
15

16   against unreasonable search and seizure as guaranteed to Plaintiff under the
17   Fourth Amendment to the United States Constitution and applied to state
18
     actors by the Fourteenth Amendment.
19
           6.3     The unreasonable use of force by Defendants deprived Plaintiff
20

21   of his right to be secure in his person against unreasonable searches and
22
     seizures as guaranteed to Plaintiff under the Fourth Amendment to the
23
     United States Constitution and applied to state actors by the Fourteenth
24

25   Amendment.                                                                           PATRICK PATTON
                                                                                       SALISH SEA LAW GROUP
                                                                                             1495 158th Place NE
                                                                                             Bellevue, WA 98008
                                                                                             206.972.5297 (voice)
                                     COMPLAINT - 10                                           206.770.6238 (fax)
                                                                                       patrick@salishsealawgroup.com
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            6.4    As a result, Plaintiff suffered extreme mental and physical pain
 1

 2   and suffering, loss of enjoyment of life and eventually suffered loss of
 3
     visitation with his young daughter, his relationship with girlfriend, and
 4
     earning capacity.
 5

 6          6.5    The conduct of Defendants was willful, wanton, malicious, and

 7   done with reckless disregard for the rights and safety of Plaintiff and,
 8
     therefore, warrants the imposition of exemplary and punitive damages as to
 9
     the Defendants.
10

11          6.6    Plaintiff brings this claim seeking damages for violation of

12   Plaintiff’s rights.
13
            6.7    Plaintiff also seeks attorney fees under this claim.
14
                           VII. THIRD CLAIM FOR RELIEF
15

16          3.     Substantive Due Process, 42 U.S.C. § 1983.
17          7.1    Plaintiff hereby incorporates by reference each of the
18
     allegations set forth in the preceding paragraphs as if realleged fully herein.
19
            7.2    Plaintiff had a cognizable interest under the Due Process Clause
20

21   of the Fourteenth Amendment of the United States Constitution to be free
22
     from state actions that deprive him of life, liberty, or property in such a
23
     manner as to shock the conscience, including, but not limited to,
24

25   unwarranted state interference in Plaintiff’s own home and person.                   PATRICK PATTON
                                                                                       SALISH SEA LAW GROUP
                                                                                             1495 158th Place NE
                                                                                             Bellevue, WA 98008
                                                                                             206.972.5297 (voice)
                                     COMPLAINT - 11                                           206.770.6238 (fax)
                                                                                       patrick@salishsealawgroup.com
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           7.3    As a result of the excessive forced by Defendants, Plaintiff was
 1

 2   thereby deprived of his constitution right to reside peaceably in his home,
 3
     protect his privacy, to be void of unreasonable search and seizure, protected
 4
     from excessive use of force by government agents acting in dereliction of
 5

 6   their duties and incompetent due diligence in exercising a search and arrest

 7   warrant.
 8
           7.4    The actions of Defendants, along with other undiscovered
 9
     conduct, shock the conscience, in that Defendants acted with deliberate
10

11   indifference to the constitutional rights of Plaintiff with purpose to harm

12   unrelated to any legitimate law enforcement objective related to Plaintiff.
13
           7.5    Defendants, acting under color of state law, thus violated the
14
     Fourteenth Amendment rights of Plaintiff.
15

16         7.6    As a direct and proximate cause of the acts of Defendants,
17   Plaintiff suffered extreme and severe mental anguish and pain and have been
18
     injured in mind and body.
19
           7.7    Plaintiff has also been deprived of the life-long love,
20

21   companionship, comfort, support, society, care and sustenance with his
22
     young daughter, as he has not been allowed to see his daughter since this
23
     July 17, 2018, raid by Defendants.
24
                                                                                        PATRICK PATTON
25                                                                                   SALISH SEA LAW GROUP
                                                                                           1495 158th Place NE
                                                                                           Bellevue, WA 98008
                                                                                           206.972.5297 (voice)
                                   COMPLAINT - 12                                           206.770.6238 (fax)
                                                                                     patrick@salishsealawgroup.com
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               7.8   As a result of the conduct of Defendants, the Defendants are
 1

 2   liable for Plaintiff’s injuries because Defendants were integral participants
 3
     in the denial of due process.
 4
               7.9   The conduct of Defendants was willful, wanton, malicious and
 5

 6   done with reckless disregard for the rights and safety of Plaintiff and,

 7   therefore, warrants the imposition of exemplary and punitive damages as to
 8
     each of the Defendants.
 9
               7.10 Plaintiff brings this claim seeking damages for violation of his
10

11   rights.

12             7.11 Plaintiff also seeks attorney fees under this claim.
13
                         VIII. FOURTH CLAIM FOR RELIEF
14
               4.    Federal, City, County and Municipal Liability for
15

16   Unconstitutional Custom or Policy, 42 U.S.C. § 1983.
17             8.1   Plaintiff hereby incorporates by reference each of the
18
     allegations set forth in the preceding paragraphs as if realleged fully herein.
19
               8.2   On or about July 17, 2018, and continuing to the present date,
20

21   Defendants deprived Plaintiff of the rights and liberties secured to him by
22
     the Fourth and Fourteenth Amendments to the United States Constitution, in
23
     that said Defendants and their supervising and managerial employees,
24

25   agents, and representatives, acting with gross negligence and with reckless          PATRICK PATTON
                                                                                       SALISH SEA LAW GROUP
                                                                                             1495 158th Place NE
                                                                                             Bellevue, WA 98008
                                                                                             206.972.5297 (voice)
                                       COMPLAINT - 13                                         206.770.6238 (fax)
                                                                                       patrick@salishsealawgroup.com
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     and deliberate indifference to the rights and liberties of the public in general,
 1

 2   and of Plaintiff, and of persons in their class, situation and comparable
 3
     position in particular, knowingly maintained, enforced and applied an
 4
     official recognized custom, policy, and practice of:
 5

 6         (a)    Employing and retaining as police officers and other personnel,

 7   including all Defendants in this matter, at all times material herein, knew or
 8
     reasonably should have known, had dangerous propensities for abusing their
 9
     authority and for mistreating citizens by failing to follow written federal,
10

11   state and city police department policies,

12         (b)    Of inadequately supervising, training, controlling, assigning,
13
     and disciplining federal agents, police officers and other personnel, who
14
     Defendants knew or in the exercise of reasonable care should have known
15

16   had the aforementioned propensities and character traits,
17         (c)    By failing to adequately train officers, including all Defendants
18
     in this matter, and failing to institute appropriate policies, regarding the use
19
     of excessive force,
20

21         (d)    By having and maintaining an unconstitutional policy, custom,
22
     and practice of using excessive force, including deadly force, which also is
23
     demonstrated by inadequate training regarding these subjects. The policies,
24
                                                                                            PATRICK PATTON
25                                                                                       SALISH SEA LAW GROUP
                                                                                               1495 158th Place NE
                                                                                               Bellevue, WA 98008
                                                                                               206.972.5297 (voice)
                                     COMPLAINT - 14                                             206.770.6238 (fax)
                                                                                         patrick@salishsealawgroup.com
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     customs, and practices of Defendants, were done with a deliberate
 1

 2   indifference to individuals’ safety and right, and
 3
            (e)       By reason of the aforementioned policies and practices of
 4
     Defendants, Plaintiff was severely injured and subjected to pain and
 5

 6   suffering, and loss.

 7          8.3       Defendants, together with various other officials, whether
 8
     named or unnamed, had either actual or constructive knowledge of the
 9
     deficient policies, practices and customs alleged in the paragraphs above.
10

11   Despite having knowledge as stated above, the Defendants condoned,

12   tolerated and through actions and inactions thereby ratified such policies.
13
     Defendants also acted with deliberate indifference to the foreseeable effects
14
     and consequences of these policies with respect to the constitutional rights
15

16   of Plaintiff and other individuals similarly situated.
17          8.4       By perpetrating, sanctioning, tolerating and ratifying the
18
     outrageous conduct and other wrongful acts, Defendants acted with reckless,
19
     and callous disregard for Plaintiff, violating Plaintiff’s constitutional rights.
20

21   Defendants’ actions were willful, wanton, oppressive, malicious, fraudulent,
22
     and extremely offensive and unconscionable to any person of normal
23
     sensibilities.
24
                                                                                            PATRICK PATTON
25                                                                                       SALISH SEA LAW GROUP
                                                                                               1495 158th Place NE
                                                                                               Bellevue, WA 98008
                                                                                               206.972.5297 (voice)
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                                                                                         patrick@salishsealawgroup.com
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               8.5   Furthermore, the policies, practices, and customs implemented
 1

 2   and maintained and still tolerated by Defendants, were affirmatively linked
 3
     to and were a significant influential force behind the injuries of Plaintiff.
 4
               8.6   By reason of the aforementioned acts and omissions of
 5

 6   Defendants, Plaintiff suffered extreme and severe mental anguish and pain

 7   and have been injured in mind and body, wage loss, love, companionship,
 8
     affection, comfort, care, society and future support from his girlfriend, and
 9
     time, love, companionship, affection, comfort, care, society and future
10

11   support with his minor child daughter.

12             8.7   Accordingly, Defendants each are liable to Plaintiff for
13
     compensatory damages under 42 U.S.C. § 1983.
14
               8.8   Plaintiff brings this claim seeking damages for violation of his
15

16   rights.
17             8.9   Plaintiff also seeks attorney fees under this claim.
18
                          IX.    FIFTH CLAIM FOR RELIEF
19
               5.    Federal, City, County and Municipal Liability – Failure to
20

21   Train, 42 U.S.C. § 1983.
22
               9.1   Plaintiff hereby incorporates by reference each of the
23
     allegations set forth in the preceding paragraphs as if realleged fully herein.
24
                                                                                           PATRICK PATTON
25                                                                                      SALISH SEA LAW GROUP
                                                                                              1495 158th Place NE
                                                                                              Bellevue, WA 98008
                                                                                              206.972.5297 (voice)
                                       COMPLAINT - 16                                          206.770.6238 (fax)
                                                                                        patrick@salishsealawgroup.com
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           9.2    While acting under the color of federal, city, county and
 1

 2   municipal law, and within the course and scope of their employment as
 3
     federal agents, county officers, city officers, and municipal officers of law
 4
     enforcement, Defendants unlawful arrest, search and seizure, deprived
 5

 6   Plaintiff of his rights and liberties secured to him by the Fourth and

 7   Fourteenth Amendments, including his right to be free from unreasonable
 8
     search and seizure.
 9
           9.3    The training policies of the Defendant agencies were not
10

11   adequate to train its agents and officers regarding valid search and seizures

12   and arrests. As a result, Defendants are not able to handle the usual and
13
     recurring situations with which they must deal, including due diligence and
14
     provision of accuracy of information for a valid search and arrest warrant,
15

16   and entering into an individual’s home, after securing the premises, making
17   proper identification of those held in Defendants’ custody.
18
           9.4    Defendants were deliberately indifferent to the known or
19
     obvious consequences of its failure to train its police officers adequately
20

21   regarding search and seizures and arrests. This inadequate training includes
22
     proper identification of arrestees during a home raid, search and seizure.
23

24
                                                                                        PATRICK PATTON
25                                                                                   SALISH SEA LAW GROUP
                                                                                           1495 158th Place NE
                                                                                           Bellevue, WA 98008
                                                                                           206.972.5297 (voice)
                                   COMPLAINT - 17                                           206.770.6238 (fax)
                                                                                     patrick@salishsealawgroup.com
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               9.5    The failure of Defendants to provide adequate training is so
 1

 2   closely related to the deprivation of the Plaintiff’s rights as to be the moving
 3
     force that caused Plaintiff’s injuries.
 4
               9.6    By failing to provide adequate training to Defendants, it
 5

 6   officers, agents, and employees, Defendants acted with an intentional,

 7   reckless, and callous disregard for Plaintiff’s constitutional rights.
 8
     Defendants’ actions were willful, wanton, oppressive, malicious, fraudulent,
 9
     and extremely offensive and unconscionable to any person of normal
10

11   sensibilities.

12             9.7    By reason of the acts and omissions of the Defendants, Plaintiff
13
     was caused to incur property damage, and wage loss.
14
               9.8    By reason of the acts and omissions of the Defendants, Plaintiff
15

16   has suffered loss of love, companionship, affection, comfort, care, society,
17   and future support from his then girlfriend, Gisela Alarcon Castaneda, and
18
     time, love, companionship, affection, comfort, care, society and future
19
     support with his minor child daughter.
20

21   .         9.9    Accordingly,    Defendants    are   liable   to   Plaintiff   for
22
     compensatory damages under 42 U.S.C. § 1983.
23
               9.10 Plaintiff brings this claim seeking damages for violation of his
24

25   rights.                                                                                 PATRICK PATTON
                                                                                          SALISH SEA LAW GROUP
                                                                                                1495 158th Place NE
                                                                                                Bellevue, WA 98008
                                                                                                206.972.5297 (voice)
                                       COMPLAINT - 18                                            206.770.6238 (fax)
                                                                                          patrick@salishsealawgroup.com
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             9.11 Plaintiff also seeks attorney fees under this claim.
 1

 2                       X.     SIXTH CLAIM FOR RELIEF
 3
             6.    Plaintiff Asserts a Plausible Claim for Relief Against
 4
     Defendants Under Bivens.
 5

 6           10.1 Plaintiff hereby incorporates by reference each of the

 7   allegations set forth in the preceding paragraphs as if realleged fully herein.
 8
             10.2 Plaintiff’s constitutional rights were violated by Defendants,
 9
     which give rise to an action for monetary damages pursuant to 28 U.S.C. §
10

11   1331.

12           10.3 Defendants have deprived Plaintiff of rights, privileges, or
13
     immunities secured by the Constitution or laws of the United States.
14
             10.4 Plaintiff also seeks attorney fees under this claim.
15

16                               XI.    JURY DEMAND
17           11.1 Plaintiff demands a trial by jury of all issues so triable.
18
                              XII. CLAIM FOR DAMAGES
19
             12.1 Plaintiff has suffered special damages from the July 17, 2018,
20

21   raid by Defendants in this matter in the amount of $40,076.60.
22
             12.2 Plaintiff has suffered damages for pain and suffering from this
23
     botched raid by Defendants. These damages are in excess of $5,000,000.00
24

25   and will be determined at trial.                                                     PATRICK PATTON
                                                                                       SALISH SEA LAW GROUP
                                                                                             1495 158th Place NE
                                                                                             Bellevue, WA 98008
                                                                                             206.972.5297 (voice)
                                       COMPLAINT - 19                                         206.770.6238 (fax)
                                                                                       patrick@salishsealawgroup.com
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           12.3 Punitive damages should be awarded to Plaintiff for
 1

 2   Defendants reckless and excessive use of force on Plaintiff, only to find that
 3
     Defendants had raided to wrong house and the wrong person causing
 4
     excessive damage to Plaintiff and his personal property and loss of work.
 5

 6         12.4 Plaintiff lost his girlfriend over this botched raid by

 7   Defendants.    Defendants killed Plaintiff’s cat as a result of this raid.
 8
     Defendants destroyed all of Plaintiff’s personal belongings, including his
 9
     only vehicle, which allowed him to get back and forth to work. He had time
10

11   loss from work. He was forced to move from his apartment because the

12   apartment and his personal belonging had all been destroyed by Defendants.
13
     Plaintiff’s name is still not clear from all reporting agencies due to this
14
     wrongful and inaccurate raid and arrest of Plaintiff. Plaintiff is specialized
15

16   in his employment, which requires at times strict security clearance; this
17   incident has prevented Plaintiff from clearing these security clearances and
18
     has prevented him for performing his specialized work duties with
19
     sophisticated internet installations for his employer.
20

21         12.5 Plaintiff requests that his name be cleared from all records with
22
     Defendants and any other reporting agency, so that he will not have this
23
     botched and reckless event continue to smear his name legally and socially.
24
                                                                                         PATRICK PATTON
25                                                                                    SALISH SEA LAW GROUP
                                                                                            1495 158th Place NE
                                                                                            Bellevue, WA 98008
                                                                                            206.972.5297 (voice)
                                    COMPLAINT - 20                                           206.770.6238 (fax)
                                                                                      patrick@salishsealawgroup.com
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              12.6 As a result of the irrational use of excessive force on Plaintiff,
 1

 2   Defendants caused extreme physical, mental and emotional harm to the
 3
     Plaintiff during this botched drug raid by Defendants.
 4
              12.7 The sense of security Plaintiff once felt in the presence of his
 5

 6   own home and with law enforcement officers has been irretrievably broken

 7   and replaced with understandable fear. Because Defendants have still not
 8
     fully removed Plaintiff’s name from federal records as having been involved
 9
     in a drug investigation, Plaintiff is still plagued by this disastrous and violent
10

11   raid on him, his home, his vehicle, his girlfriend, and his family pet –

12   continuing to cause him harm when, in fact, Defendants had the wrong
13
     apartment and wrong person and would not even check Plaintiff’s
14
     identification before the destruction and harm occurred despite Plaintiff’s
15

16   pleas.
17                           XIII. PRAYER FOR RELIEF
18
              WHEREFORE, Plaintiff demands that this Court award the
19
     following:
20

21            13.1 Special damages in excess of $40,076.60,
22
              13.2 Punitive damages in excess of $5,000,000.00,
23
              13.3 Costs incurred in this action and reasonable attorney fees,
24

25            13.4 Prejudgment and post-judgment interest, and                               PATRICK PATTON
                                                                                          SALISH SEA LAW GROUP
                                                                                                1495 158th Place NE
                                                                                                Bellevue, WA 98008
                                                                                                206.972.5297 (voice)
                                      COMPLAINT - 21                                             206.770.6238 (fax)
                                                                                          patrick@salishsealawgroup.com
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     13.5 Such other and further relief the Court deems just and proper.
 1

 2   RESPECTFULLY SUBMITTED this 16th day of July 2021.
 3

 4                                  /s/ Patrick Patton
                                    PATRICK PATTON, WSBA 49159
 5                                  Salish Sea Law Group
 6                                  1495 158th Place NE
                                    Bellevue, WA 98008
 7                                  (206) 972-5297 – Office
                                    (206) 770-6238 – Facsimile
 8
                                    patrick@salishsealawgroup.com
 9
                                    Attorney for Plaintiff
10

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                                                                              PATRICK PATTON
25                                                                         SALISH SEA LAW GROUP
                                                                                 1495 158th Place NE
                                                                                 Bellevue, WA 98008
                                                                                 206.972.5297 (voice)
                            COMPLAINT - 22                                        206.770.6238 (fax)
                                                                           patrick@salishsealawgroup.com
            Case 2:21-cv-00952-JCC Document 1 Filed 07/16/21 Page 23 of 23


                                  JURY DEMAND
 1

 2         Plaintiff hereby demands a trial by jury of all issues so triable pursuant
 3
     to Rule 38 of the Federal Rules of Civil Procedure.
 4
           DATED this 16th day of July 2021.
 5

 6

 7                                           /s/ Patrick Patton
                                             PATRICK PATTON, WSBA 49159
 8
                                             Salish Sea Law Group
 9                                           1495 158th Place NE
                                             Bellevue, WA 98008
10                                           (206) 972-5297 – Office
11                                           (206) 770-6238 – Facsimile
                                             patrick@salishsealawgroup.com
12

13
                                             Attorney for Plaintiff

14

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24
                                                                                           PATRICK PATTON
25                                                                                      SALISH SEA LAW GROUP
                                                                                              1495 158th Place NE
                                                                                              Bellevue, WA 98008
                                                                                              206.972.5297 (voice)
                                    COMPLAINT - 23                                             206.770.6238 (fax)
                                                                                        patrick@salishsealawgroup.com
